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Name          Rabin J. Pournazarian
Address       Price Law Group, APC
              15760 Ventura Blvd.
              Suite 1100
              Encino, CA 91436
Telephone     818-995-4540       (FAX)         818-995-9277
Email Address

    Attorney for Debtor
State Bar No. 186735

    Debtor(s) in Pro Se        (Any reference to the singular shall include the plural in the case of joint debtors.)



                                 UNITED STATES BANKRUPTCY COURT
                                  CENTRAL DISTRICT OF CALIFORNIA
List all names (including trade names) used by the debtor within                 Chapter 13 Case No.
the last 8 years:
  Robert Byers, Jr
                                                                                                  CHAPTER 13 PLAN
  Laverne McCoy-Byers
    AKA Laverne Byers                                                            CREDITORS MEETING:
                                                                                 Date:
                                                                                 Time:
                                                                                 Place:
                                                                                 CONFIRMATION HEARING:
                                                                                 Date:
                                                                                 Time:
                                                                                 Place:



                                                                  NOTICE
This Chapter 13 Plan is proposed by the above Debtor. The Debtor attests that the information stated in this Plan is
accurate. Creditors cannot vote on this Plan. However, creditors may object to this Plan being confirmed pursuant to 11
U.S.C. § 1324. Any objection must be in writing and must be filed with the court and served upon the Debtor, Debtor's
attorney (if any), and the Chapter 13 Trustee not less than 7 days before the date set for the meeting of creditors. Unless
an objection is filed and served, the court may confirm this Plan. The Plan, if confirmed, modifies the rights and duties of
the Debtor and creditors to the treatment provided in the Plan as confirmed, with the following IMPORTANT
EXCEPTIONS:

Unless otherwise provided by law, each creditor will retain its lien until the earlier of payment of the underlying debt
determined under non-bankruptcy law or discharge under 11 U.S.C.§1328. If the case under this chapter is dismissed or
converted without completion of the Plan, such lien shall also be retained by such holder to the extent recognized by
applicable non-bankruptcy law.

Defaults will be cured using the interest rate set forth below in the Plan. Any ongoing obligation will be paid according to
the terms of the Plan.




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HOLDERS OF SECURED CLAIMS AND CLASS 1 CLAIMANTS WILL BE PAID ACCORDING TO THIS PLAN AFTER
CONFIRMATION UNLESS THE SECURED CREDITOR OR CLASS 1 CLAIMANT FILES A PROOF OF CLAIM IN A
DIFFERENT AMOUNT THAN THAT PROVIDED IN THE PLAN. If a secured creditor or a class 1 creditor files a proof of
claim, that creditor will be paid according to that creditor’s proof of claim, unless the court orders otherwise.

HOLDERS OF ALL OTHER CLAIMS MUST TIMELY FILE PROOFS OF CLAIMS, IF THE CODE SO REQUIRES, OR
THEY WILL NOT BE PAID ANY AMOUNT. A Debtor who confirms a Plan may be eligible thereafter to receive a
discharge of debts to the extent specified in 11 U.S.C. § 1328.

The Debtor proposes the following Plan and makes the following declarations:

I.   PROPERTY AND FUTURE EARNINGS OR INCOME SUBJECT TO THE SUPERVISION AND CONTROL OF THE
     CHAPTER 13 TRUSTEE:

     The Debtor submits the following to the supervision and control of the Chapter 13 Trustee:

     A.    Payments by Debtor of $1,550.67 per month for 60 months. This monthly Plan Payment will begin within 30
           days of the date the petition was filed.

     B.    The base plan amount is $ 93,040.20 which is estimated to pay 100 % of the allowed claims of nonpriority
           unsecured creditors. If that percentage is less than 100%, the Debtor will pay the Plan Payment stated in this
           Plan for the full term of the Plan or until the base plan amount is paid in full, and the Chapter 13 Trustee may
           increase the percentage to be paid to creditors accordingly.

     C.    Amounts necessary for the payment of post-petition claims allowed under 11 U.S.C. § 1305.

     D.    Preconfirmation adequate protection payments for any creditor who holds an allowed claim secured by personal
           property where such security interest is attributable to the purchase of such property and preconfirmation
           payments on leases of personal property whose allowed claim is impaired by the terms proposed in the plan.
           Preconfirmation adequate protection payments and preconfirmation lease payments will be paid to the Chapter
           13 Trustee for the following creditor(s) in the following amounts:

 Creditor/Lessor Name                Collateral Description                     Last 4 Digits of Account #                                  Amount
 American Home Mortgage              Residence:                                                     xxxxx5904                              $3,732.15
                                     15695 Oliver Street
                                     Moreno Valley, CA 92555

                                     Fair market value is based on
                                     comparables in the area.
                                     Payment Due: 1st
                                     Payment Late: 16th

     Each adequate protection payment or preconfirmation lease payment will commence on or before the 30th day from
     the date of filing of the case. The Chapter 13 Trustee shall deduct the foregoing adequate protection payment(s)
     and/or preconfirmation lease payment from the Debtor’s Plan Payment and disburse the adequate protection
     payment or preconfirmation lease payment to the secured(s) creditor(s) at the next available disbursement or as soon
     as practicable after the payment is received and posted to the Chapter 13 Trustee’s account. The Chapter 13 Trustee
     will take his or her statutory fee on all disbursements made for preconfirmation adequate protection payments or
     preconfirmation lease payments.

     E.    Other property: (specify property or indicate none)
              NONE




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II.   ORDER OF PAYMENTS; CLASSIFICATION AND TREATMENT OF CLAIMS:
      Except as otherwise provided in the plan or by court order, the Chapter 13 Trustee shall disburse all available funds
      for the payment of claims as follows:

      A.   ORDER OF PAYMENTS:

           1. If there are Domestic Support Obligations, the order of priority shall be:

                (a) Domestic Support Obligations and the Chapter 13 Trustee’s fee not exceeding the amount accrued on
                    payments made to date;

                (b) Administrative expenses (Class 1(a)) in an amount not exceeding                               % of each Plan Payment until
                    paid in full;

           2. If there are no Domestic Support Obligations, the order of priority shall be the Chapter 13 Trustee’s fee not
              exceeding the amount accrued on payments made to date, and administrative expenses (Class 1(a)) in an
              amount not exceeding 50 % of each Plan Payment until paid in full.

           3. Notwithstanding 1 and 2 above, ongoing payments on secured debts that are to be made by the Chapter 13
              Trustee from the Plan Payment; such secured debt may be paid by the Chapter 13 Trustee commencing
              with the inception of Plan Payments.

           4. Subject to 1, 2, and 3 above, pro rata to all other claims except as otherwise provided in the Plan.

           5. No payment shall be made on nonpriority unsecured claims until all secured and priority claims have been
              paid in full.




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      B.   CLASSIFICATION AND TREATMENT OF CLAIMS:

                                               CLASS 1
                    ALLOWED UNSECURED CLAIMS ENTITLED TO PRIORITY UNDER 11 U.S.C. §507

The Debtor will pay Class 1 claims in full; except the debtor may provide for less than full payment of Domestic Support
Obligations pursuant to 11 U.S.C. §1322(a)(4).

              CATEGORY                         AMOUNT OF                  INTEREST              MONTHLY           NUMBER OF             TOTAL
                                              PRIORITY CLAIM              RATE, if any          PAYMENT            MONTHS              PAYMENT

a. Administrative Expenses

(1)    Chapter 13 Trustee’s Fee – estimated at 10% of all payments to be made to all classes through this Plan.

(2)    Attorney’s Fees                                     $3,581.00                                  $716.20             5                $3,581.00

(3)    Chapter 7 Trustee’s Fees


(4)    Other

b. Other Priority Claims

(1)    Internal Revenue Service

(2)    Franchise Tax Board

(3)    Domestic Support Obligation

(4)    Other

       Franchise Tax Board                                 $7,907.00            0%                    $263.57            30                $7,907.00

       Internal Revenue Service                          $30,546.00             0%                  $1,018.20            30              $30,546.00

c.     Domestic Support Obligations that are not to be paid in full in the Plan (Specify Creditor Name):




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                                                                     CLASS 2

             CLAIMS SECURED SOLELY BY PROPERTY THAT IS THE DEBTOR’S PRINCIPAL RESIDENCE
                  ON WHICH OBLIGATION MATURES AFTER THE FINAL PLAN PAYMENT IS DUE
     1.       The post-confirmation monthly mortgage payment will be made by the Chapter 13 Trustee from the Plan
     Payment to:
     2.          The post-confirmation monthly mortgage payment will be made by the Debtor directly to:

     American Home Mortgage                                                                                              xxxxx5904
                      (name of creditor)                                                   (last 4 digits of account number)

The Debtor will cure all prepetition arrearages for the primary residence through the Plan Payment as set forth below.

                                                                                           Cure of Default
                         Last Four Digits of       AMOUNT OF              INTEREST            MONTHLY             NUMBER OF             TOTAL
Name of Creditor          Account Number           ARREARAGE                RATE              PAYMENT              MONTHS              PAYMENT




                                                                     CLASS 3

                   CLAIMS SECURED BY REAL OR PERSONAL PROPERTY WHICH ARE PAID IN FULL
                                      DURING THE TERM OF THE PLAN

                               Last Four                           SECURED                               Equal          NUMBER
                               Digits of           CLAIM                             INTEREST                                           TOTAL
   Name of Creditor                                                 CLAIM                               Monthly           OF
                               Account             TOTAL                               RATE                                            PAYMENT
                                                                   AMOUNT                               Payment         MONTHS
                                  No.




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                                                                     CLASS 4

       OTHER SECURED CLAIMS ON WHICH THE LAST PAYMENT IS DUE AFTER THE DATE ON WHICH THE FINAL
                                   PAYMENT UNDER THE PLAN IS DUE
        1.        The post-confirmation monthly payment pursuant to the promissory note will be made by the Chapter 13
        Trustee from the Plan Payment to:
        2.          The post-confirmation monthly payment pursuant to the promissory note will be made by the Debtor
        directly to:


                      (name of creditor)                                                   (last 4 digits of account number)


                      (name of creditor)                                                   (last 4 digits of account number)

 The Debtor will cure all prepetition arrearages on these claims through the Plan Payment as set forth below.

                                                                                           Cure of Default
                         Last Four Digits of       AMOUNT OF              INTEREST            MONTHLY             NUMBER OF             TOTAL
 Name of Creditor         Account Number           ARREARAGE                RATE              PAYMENT              MONTHS              PAYMENT




                                                                     CLASS 5

                                                 NON-PRIORITY UNSECURED CLAIMS

 Debtor estimates that non-priority unsecured claims total the sum of $42,548.00 .
 Class 5 claims will be paid as follows:

 (Check one box only.)
           Class 5 claims (including allowed unsecured amounts from Class 3) are of one class and will be paid pro rata.
 OR
           Class 5 claims will be divided into subclasses as shown on the attached exhibit directly below (which also shows
 the justification for the differentiation among the subclasses) and the creditors in each subclass will be paid pro rata.


III.    COMPARISON WITH CHAPTER 7

The value as of the effective date of the Plan of property to be distributed under the Plan on account of each allowed claim
is not less than the amount that would be paid on such claim if the estate of the Debtor were liquidated under chapter 7 of
the Bankruptcy Code on such date. The amount distributed to nonpriority unsecured creditors in chapter 7 would be $ 0.00
which is estimated to pay 0 % of the scheduled nonpriority unsecured debt.




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IV.   PLAN ANALYSIS


CLASS 1a                                                                                                      $3,581.00

CLASS 1b                                                                                                     $38,453.00

CLASS 1c                                                                                                           $0.00

CLASS 2                                                                                                            $0.00

CLASS 3                                                                                                            $0.00

CLASS 4                                                                                                            $0.00

CLASS 5                                                                                                      $42,548.00

SUB-TOTAL                                                                                                    $84,582.00

CHAPTER 13 TRUSTEE'S FEE (Estimated 10% unless
advised otherwise)                                                                                            $8,458.20

TOTAL PAYMENT                                                                                                $93,040.20


V.    OTHER PROVISIONS

       A. The Debtor rejects the following executory contracts and unexpired leases.
            Name of Other Party:                                    Description of contract/lease:
               -NONE-

       B. The Debtor assumes the executory contracts or unexpired leases set forth in this section. As to each contract or
          lease assumed, any defaults therein and Debtor’s proposal for cure of said default(s) is described in Class 4 of
          this Plan. The Debtor has a leasehold interest in personal property and will make all post-petition payments
          directly to the lessor(s):
             Name of Other Party:                                Description of contract/lease:
               -NONE-

       C. In addition to the payments specified in Class 2 and Class 4, the Debtor will make regular payments, including
          any preconfirmation payments, directly to the following:
             Creditor Name:                                        Monthly Payment:
               Altura Credit Union                                                               $212.00
               Bill Me Later                                                                     $244.30
               BMW Financial Services                                                            $586.69
               Pacific Monarch Resort                                                            $116.70
               Wells Fargo Financial, Inc                                                        $715.00

       D. The Debtor hereby surrenders the following personal or real property. (Identify property and creditor to which it is
          surrendered.)
            Creditor Name:                                         Description:
               Beneficial                                                           Residence:
                                                                                    15695 Oliver Street
                                                                                    Moreno Valley, CA 92555

                                                                                    Fair market value is based on comparables in the area.
                                                                                    Payment Due: 1st
                                                                                    Payment Late: 16th
               Lawrence Welk's Desert Oasis                                         Timeshare with Lawrence Welk

                                                                                    Encumbered.
                                                                                    Debtor will do a deed in lieu of foreclosure. no balance
                                                                                    shall be owed on this loan.



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       E. The Debtor shall incur no debt greater than $500.00 without prior court approval unless the debt is incurred in
          the ordinary course of business pursuant to 11 U.S.C. §1304(b) or for medical emergencies.

       F. Miscellaneous provisions: (Use Attachment, if necessary)
                Debtors shall keep making direct payments on her non-dischargeable student loan with Sallie Mae. The Debtor is
                current on that loan, and the loan matures after the completion of the plan. The trustee shall not disburse any funds
                to Sallie Mae, and this debt to Sallie Mae shall survive the bankruptcy.

       G. The Chapter 13 Trustee is authorized to disburse funds after the date confirmation is announced in open court.

       H. The Debtor will pay timely all post-confirmation tax liabilities directly to the appropriate taxing authorities as they
          come due.

       I.     The Debtor will pay all amounts required to be paid under a Domestic Support Obligation that first became
              payable after the date of the filing of the petition.

VI.    REVESTING OF PROPERTY

            Property of the estate shall not revest in the Debtor until such time as a discharge is granted or the case is
            dismissed or closed without discharge. Revestment shall be subject to all liens and encumbrances in existence
            when the case was filed, except those liens avoided by court order or extinguished by operation of law. In the
            event the case is converted to a case under chapter 7, 11, or 12 of the Bankruptcy Code, the property of the
            estate shall vest in accordance with applicable law. After confirmation of the Plan, the Chapter 13 Trustee shall
            have no further authority or fiduciary duty regarding use, sale, or refinance of property of the estate except to
            respond to any motion for proposed use, sale, or refinance as required by the Local Bankruptcy Rules. Prior to any
            discharge or dismissal, the Debtor must seek approval of the court to purchase, sell, or refinance real property.



Dated:       June 7, 2012                                                         /s/ Rabin J. Pournazarian
                                                                                                    Rabin J. Pournazarian
                                                                                                            186735
                                                                                                        Attorney for Debtor(s)


                                                                                  /s/ Robert Byers, Jr
                                                                                                            Robert Byers, Jr
                                                                                                                  Debtor

                                                                                  /s/ Laverne McCoy-Byers
                                                                                                   Laverne McCoy-Byers
                                                                                                              Joint Debtor




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